     Case 3:17-cv-01781-HZ Document 270 Filed 09/08/17 PageID.11959 Page 1 of 4



 1      DAVID R. BOYAJIAN (CBN #257825)
 2      DAVID W. AXELROD (OSB #750231)
         pro hac vice pending
 3      BRENNA K. LEGAARD (OSB #001658),
 4       pro hac vice pending
        NICHOLAS F. ALDRICH, JR. (OSB #160306),
 5       pro hac vice pending
 6      SCHWABE, WILLIAMSON & WYATT, P.C.
        1211 SW 5th Ave., Suite 1900
 7      Portland, OR 97204
 8      Telephone: 503.222.9981
        E-mail: dboyajian@schwabe.com
 9              daxelrod@schwabe.com
                blegaard@schwabe.com
10              naldrich@schwabe.com

11      Attorneys for Plaintiff
12
13
                               UNITED STATES DISTRICT COURT
14
                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
15
                                     SAN DIEGO DIVISION
16
       COLUMBIA SPORTSWEAR NORTH                      Case No.: 3:17-cv-01781-HZ
17     AMERICA, INC., an Oregon corporation,
                                                      EXHIBIT 1 TO PRO HAC VICE
18                     Plaintiff,                     APPLICATION OF BRENNA K.
                                                      LEGAARD
19           v.
                                                      Judge:       Marco A. Hernandez
20     SEIRUS INNOVATIVE ACCESSORIES,                 Courtroom:   3C
       INC., a Utah corporation,                      Date:        September 18, 2017
21                                                    Time:        9:00 a.m.
                       Defendant.
22                                                    Date Action Filed: January 12, 2015
                                                      Trial Date: September 18, 2017
23
24           Attached hereto is the Exhibit 1 which should have been attached to the pro hac
25     vice application of Brenna K. Legaard. [Dkt. No. 268]
26
27
28
        EXHIBIT TO PRO HAC VICE APPLICATION OF                  CASE NO.: 3:17-CV-01781
        BRENNA K. LEGAARD
     Case 3:17-cv-01781-HZ Document 270 Filed 09/08/17 PageID.11960 Page 2 of 4



 1     Dated: September 8, 2017
 2                                        SCHWABE, WILLIAMSON & WYATT, P.C.
 3
 4                                       By:       /s/ Brenna K. Legaard
                                                   David R. Boyajian
 5                                                 E-mail: dboyajian@schwabe.com
                                                   David W. Axelrod, pro hac pending
 6                                                 E-mail: daxelrod@schwabe.com
                                                   Brenna K. Legaard, pro hac pending
 7                                                 E-mail: seads@schwabe.com
                                                   Nicholas F. Aldrich, Jr., pro hac pending
 8                                                 E-mail: naldrich@schwabe.com
 9                                                    Attorneys for Plaintiff
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               2
        EXHIBIT TO PRO HAC VICE APPLICATION OF                  CASE NO.: 3:17-CV-01781
        BRENNA K. LEGAARD
Case 3:17-cv-01781-HZ Document 270 Filed 09/08/17 PageID.11961 Page 3 of 4
                            PRO HAC VICE APPLICATION


      David Boyajian of Columbia’s trial counsel, Schwabe, Williamson & Wyatt,
has entered an appearance in this case. Mr. Boyajian is a member in good standing
of the bar of the Southern District of California. He will fulfill the responsibilities
of Civil Local Rule 83.3(b), which requires participation of “a member of the bar
of this Court.”

      Similarly, Civil Rule 83.3(c)(4) requires as follows for attorneys applying
for admission pro hac vice: “The attorney must also designate in the application a
member of the bar of this court with whom the court and opposing counsel may
readily communicate regarding the conduct of the case and upon whom papers will
be served. The attorney must file with such application the address, telephone
number and written consent of such designee.”

      Columbia notes an ambiguity in the form pro hac vice application provided
by this Court. Although Civil Rule 83.3(c)(4) requires only designation of “a
member of the bar of this court,” the form has fields for identification of “local
counsel.” The local rules do not require designation of “local counsel” with an
office in the Southern District of San Diego unless the Judge, in his discretion,
requires it. See Civil Local Rule 83.3(c)(5). Pursuant to Civil Rule 83.3(c)(4),
Columbia and Ms. Legaard designate Mr. Boyajian as “a member of the bar of this
court with whom the court and opposing counsel may readily communicate
regarding the conduct of the case and upon whom papers will be served,” and
therefore, have also listed him in the pro hac vice application form in the field
titled “Designation of Local Counsel.”




1-                                                                     Brenna K. Legaard
                                                                            Exhibit 1
                                                                          Page 1 of 1
     Case 3:17-cv-01781-HZ Document 270 Filed 09/08/17 PageID.11962 Page 4 of 4



 1                                    CERTIFICATE OF SERVICE
 2           I hereby certify that on September 8, 2017, I served the foregoing document on
 3     the following counsel of record for Defendant Seirus Innovative Accessories, Inc.:
 4      By electronic service via the       Renée E. Rothauge
 5      Court’s CM/ECF System               ReneeRothauge@markowitzherbold.com
                                            Markowitz Herbold PC
 6                                          Suite 3000, Pacwest Center
 7                                          1211 SW Fifth Avenue
                                            Portland, OR 97204-3730
 8                                          Christopher S. Marchese
 9                                          marchese@fr.com
                                            Garrett K. Sakimae
10                                          sakimae@fr.com
11                                          Seth M. Sproul
                                            sproul@fr.com
12                                          Fish & Richardson PC
13                                          12390 El Camino Real
                                            San Diego, CA 92130
14                                          Tucker N. Terhufen
        By electronic service via e-mail
15                                          Terhufen@fr.com
                                            Fish & Richardson PC
16                                          12390 El Camino Real
17                                          San Diego, CA 92130
18
19
20     by delivering to them a true and correct copy thereof, certified by me as such.
21
22                                            /s/ Brenna K. Legaard
23                                            Brenna K. Legaard
                                              Email: blegaard@schwabe.com
24
25
26
27
28

       1 – CERTIFICATE OF SERVICE
       PDX\106477\192966\SJB\21434258.1
